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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


 ARBUTUS BIOPHARMA CORPORATION                          :
 and GENEVANT SCIENCES GMBH,                            :
                                                        :       CIVIL ACTION
                                Plaintiffs,             :
                                                        :
                 v.                                     :
                                                        :       NO. 22-252
 MODERNA, INC. and MODERNATX, INC.,                     :
                                                        :
                                Defendants.             :

                                                ORDER

        AND NOW, this 29th day of May 2025, after a telephone conference wherein Plaintiffs asked

 me to reconsider my May 16, 2025 Narrowing Order, I note the following:

    1. On May 2, 2025, the Parties submitted letters regarding the scheduling of summary judgment,

        Daubert, and the narrowing of issues to be litigated during trial. Both Parties proposed narrowing

        the number of asserted patent claims and invalidity defenses but had differing views on the extent

        of that narrowing.

    2. On May 7, 2025, a status conference was held, during which the Parties suggested that the

        narrowing of claims should occur before a schedule for summary judgment and Daubert motions

        was set. Thereafter, I ordered the Parties to meet and confer and submit proposals to narrow the

        number of asserted claims and invalidity defenses.

    3. On May 13, 2025, the Parties submitted their proposals, and for the first time Defendants

        suggested that the number of asserted patents be narrowed. Plaintiffs opposed this suggestion.

    4. On May 16, 2025, I issued a Narrowing Order, which required Plaintiffs to narrow the number

        of asserted patents to no more than three (3) by May 18, 2025, and no more than two (2) patents

        prior to trial.
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    5. On May 16, 2025, Plaintiffs filed a letter requesting that I reconsider my order regarding the

       narrowing of the number of asserted patents. Plaintiffs requested permission to assert up to five

       (5) patents through summary judgment, and at least four (4) patents at trial. Plaintiffs argued that

       narrowing the number of patents was prejudicial as: (1) Defendants’ alleged infringement

       spanned a period before the ’378 patent issued and after the ’651 expired; (2) several of the Lipid

       Composition Patents were differently situated with respect to IPR estoppel; and (3) Plaintiffs

       intended to advance different theories which could potentially lead to different infringement and

       damages outcomes for each of the Lipid Composition Patents. Additionally, Plaintiffs assured

       me that the evidence presented at trial would be largely the same regardless of the number of

       patents asserted.

    6. On May 19, 2025, Defendants filed a letter opposing Plaintiffs’ request for reconsideration,

       arguing that Plaintiffs failed to meet their burden for reconsideration.

    7. On May 19, 2025, another on-the-record teleconference was held. There, Plaintiffs reiterated

       that reconsideration was appropriate because: (1) their “broadest patent,” the ’378 patent, was

       issued during Defendants’ allegedly infringing sales and therefore did not cover the entire

       infringement period; (2) the asserted patents at issue are not similarly situated in terms of IPR

       estoppel, and (3) the infringement issues to be presented to the jury would be the same regardless

       of the number of asserted patents.

    8. Upon consideration of the Parties’ arguments and balancing the interest of judicial efficiency

       with Plaintiffs’ interest in asserting their property rights, and noting that while the timing of

       narrowing is worth considering, an inordinate amount of time on this issue has been expended,

       I find it appropriate to limit Plaintiffs to no more than four (4) patents prior to the filing of

       summary judgment and Daubert motions. Further narrowing will be discussed following

       resolution of summary judgment and Daubert motions.
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    9. Requiring Plaintiffs to narrow to four patents will allow them to preserve: (1) the ’651 patent,

       which is the only asserted patent in its family; (2) the ’378 patent, which Plaintiffs claim is the

       broadest asserted patent but does not cover the entire period of alleged infringement; (3) the ’435

       patent, which Plaintiffs claim may be subject to IPR estoppel following summary judgment, and

       (4) any other member of the Lipid Formulation Family which spans the entire alleged

       infringement period, and will not be affected by summary judgment on the issue of IPR estoppel.

       While Plaintiffs are not required to select these specific patents, I believe limiting Plaintiffs to

       four (4) asserted patents adequately addresses the concerns raised in Plaintiffs’ letter brief and

       subsequent telephone conference while also narrowing the issues to be addressed through

       summary judgment and Daubert motions. The issue of patent narrowing will be revisited after

       summary judgment.

 WHEREFORE, it is hereby ORDERED that the scheduling order is amended such that:

    1. On or before June 3, 2025, Plaintiffs will narrow the number of asserted patents to no more than

       four (4). Plaintiffs shall also narrow the number of asserted claims to no more than fifteen (15);

    2. On or before June 9, 2025, Defendants shall narrow the number of asserted invalidity grounds

       under 35 U.S.C. §§ 102–103 to no more than eight (8) per asserted claim, and the number of

       asserted invalidity grounds under 35 U.S.C. § 112, to no more than six (6) per asserted claim;

    3. An conference will be held on June 12, 2025, at 2:00 PM, in Courtroom 17A, U.S. Courthouse,

       601 Market Street, Philadelphia, Pa. During that conference, the Parties will discuss proposed

       summary judgment and Daubert motions;

    4. Paragraph 5 of my May 16 Order (D.I. 468) is STAYED. A conference to discuss further

       narrowing will be scheduled pending the resolution of summary judgment and Daubert motions.

                                               BY THE COURT:

                                               /s/ Mitchell S. Goldberg
                                               MITCHELL S. GOLDBERG, J.
